                                                    Exhibit A
               IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
                       CASE NUMBER 1:20CV66


CARYN DEVINS STRICKLAND,

           Plaintiff,

          v.

UNITED STATES OF AMERICA, et al.,

           Defendants.
_________________________________


               - - - - - - - - - - - - - - - - - -
                         Videotaped Deposition

                                   of

                       CARYN DEVINS STRICKLAND

                - - - - - - - - - - - - - - - - -

           The videotaped deposition of CARYN DEVINS STRICKLAND
was taken by the Defendants on Tuesday, the 25th day of April,
2023, commencing at 9:15 a.m., at the United States Attorney’s
Office, located at 150 Fayetteville Street, Raleigh, North
Carolina.




                         PATRICIA C. ELLIOTT
                          Verbatim Reporter




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      Q.




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